            Case 3:20-cv-07184-EMC     Document 58    Filed 10/16/21         Page 1 of 5




 1 OFFICE OF THE CITY ATTORNEY                       OFFICE OF THE CITY ATTORNEY
   CITY OF PORTLAND                                  CITY OF OAKLAND
 2 ROBERT TAYLOR, OR State Bar # 044287              BARBARA J. PARKER, CA State Bar # 069722
   City Attorney                                     City Attorney
 3 Admitted Pro Hac Vice
                                                     MARIA BEE, CA State Bar # 167716
   DENIS VANNIER, OR State Bar # 044406              Chief Assistant City Attorney
 4
   Senior Deputy City Attorney                       ZOE M. SAVITSKY, CA State Bar # 281616
 5 Admitted Pro Hac Vice                             Supervising Deputy City Attorney
   NAOMI SHEFFIELD, OR State Bar # 170601            MALIA MCPHERSON, CA State Bar # 313918
 6 Deputy City Attorney                              Deputy City Attorney
     Admitted Pro Hac Vice
                                                     One Frank H. Ogawa Plaza, 6th Floor
 7 1221 SW 4th Avenue, Suite 430
                                                     Oakland, California 94612
   Portland, Oregon 97204
 8 T: (503) 823-4047; F: (503) 823-3089              T: (510) 238-6623; F: (510) 238-6500
                                                     Email: zsavitsky@oaklandcityattorney.org
   Email: robert.taylor@portlandoregon.gov
 9                                                          mmcpherson@oaklandcityattorney.org
          denis.vannier@portlandoregon.gov
                                                     Attorneys for Plaintiff City of Oakland
10        naomi.sheffield@portlandoregon.gov
   Attorneys for Plaintiff City of Portland
                                                     JILL HABIG, President, CA State Bar # 268770
11
                                                     JONATHAN B. MILLER, Legal Director, MA
12                                                   State Bar # 663012
                                                     Admitted Pro Hac Vice
13                                                   4096 Piedmont Avenue #149
                                                     Oakland, California 94611
14                                                   T: (301) 335-3828
                                                     Email: jon@publicrightsproject.org
15                                                   Attorneys for Plaintiffs
16 BRIAN M. BOYNTON

17 Acting Assistant Attorney General
   STEPHANIE HINDS
18 Acting United States Attorney
   ALEXANDER K. HAAS
19 Director, Federal Programs Branch
   BRIGHAM J. BOWEN
20 Assistant Branch Director

21
     JASON C. LYNCH (D.C. Bar No. 1016319)
22   MICHAEL P. CLENDENEN (D.C. Bar No. 1660991)
     Trial Attorneys
23   United States Department of Justice
     Civil Division, Federal Programs Branch
24
     1100 L Street NW
25   Washington, DC 20530
     Tel: (202) 514-1359
26   Fax: (202) 616-8460
     Email: jason.lynch@usdoj.gov
27
     Attorneys for Defendants
28

     STIPULATION OF DISMISSAL OF FIRST AMENDED COMPLAINT WITHOUT PREJUDICE
           Case 3:20-cv-07184-EMC     Document 58    Filed 10/16/21   Page 2 of 5




 1
                                UNITED STATES DISTRICT COURT
 2
                               NORTHERN DISTRICT OF CALIFORNIA
 3

 4                                  SAN FRANCISCO DIVISION

 5

 6 THE CITY OF PORTLAND AND THE CITY
                                                  Case No. 3:20-cv-7184-EMC
   OF OAKLAND,
 7
                                                  STIPULATION OF DISMISSAL OF
 8               Plaintiffs,                      FIRST AMENDED COMPLAINT
                                                  WITHOUT PREJUDICE
 9         v.

10 MERRICK GARLAND, in his official capacity
   as United States Attorney General, et al.,
11

12               Defendants.

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     STIPULATION OF DISMISSAL OF FIRST AMENDED COMPLAINT WITHOUT PREJUDICE
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1                STIPULATION OF DISMISSAL OF FIRST AMENDED COMPLAINT
2          On September 15, 2021, the Court approved the Parties’ proposal to file another joint status

3 report by October 15, 2021. The Parties recently filed that report, see ECF No. 56. The Parties hereby

4 stipulate to the dismissing of this matter without prejudice pursuant to Federal Rule of Civil Procedure

5 41(a). The Parties agree to each bear their own fees and costs.

6 Dated: October 15, 2021                       Respectfully submitted,

7                                               BRIAN M. BOYNTON
                                                Acting Assistant Attorney General
8

9                                               STEPHANIE HINDS
                                                Acting United States Attorney
10
                                                ALEXANDER K. HAAS
11                                              Director, Federal Programs Branch
12
                                                BRIGHAM J. BOWEN
13                                              Assistant Branch Director

14                                              /s/ Jason C. Lynch
                                                JASON C. LYNCH (D.C. Bar No. 1016319)
15                                              MICHAEL P. CLENDENEN (D.C. Bar No. 1660991)
                                                Trial Attorneys
16
                                                United States Department of Justice
17                                              Civil Division, Federal Programs Branch
                                                1100 L Street NW
18                                              Washington, DC 20530
                                                Tel: (202) 514-1359
19                                              Fax: (202) 616-8460
20                                              Email: jason.lynch@usdoj.gov

21                                              Attorneys for Defendants

22                                              /s/ Jonathan B. Miller
                                                JONATHAN B. MILLER, Legal Director
23                                              Admitted Pro Hac Vice
24                                              JILL HABIG, President, CA SBN 268770
                                                Public Rights Project
25                                              4096 Piedmont Avenue #149
                                                Oakland, California 94611
26                                              T: (301) 335-3828
                                                Email: jon@publicrightsproject.org
27

28                                              Attorneys for Plaintiffs

     STIPULATION OF DISMISSAL OF FIRST AMENDED COMPLAINT WITHOUT PREJUDICE
           Case 3:20-cv-07184-EMC     Document 58      Filed 10/16/21     Page 4 of 5




1                                         OFFICE OF THE CITY ATTORNEY
                                          CITY OF PORTLAND
2                                         ROBERT TAYLOR, OR SBN 044287
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                                          Senior Deputy City Attorney
5                                         Admitted Pro Hac Vice
                                          NAOMI SHEFFIELD, OR SBN 170601
6                                         Deputy City Attorney
                                          Admitted Pro Hac Vice
7
                                          1221 SW 4th Avenue, Suite 430
8                                         Portland, Oregon 97204
                                          T: (503) 823-4047; F: (503) 823-3089
9                                         Email: robert.taylor@portlandoregon.gov

10                                        Attorneys for Plaintiff City of Portland
11
                                          OFFICE OF THE CITY ATTORNEY
12                                        CITY OF OAKLAND
                                          BARBARA J. PARKER, CA SBN 069722
13                                        City Attorney
                                          MARIA BEE, CA SBN 167716
14                                        Chief Assistant City Attorney
15                                        ZOE M. SAVITSKY, CA SBN 281616
                                          Supervising Deputy City Attorney
16                                        MALIA MCPHERSON, CA SBN 313918
                                          Deputy City Attorney
17                                        One Frank H. Ogawa Plaza, 6th Floor
                                          Oakland, California 94612
18                                        T: (510) 238-3601; F: (510) 238-6500
19                                        Email: zsavitsky@oaklandcityattorney.org

20                                        Attorneys for Plaintiff City of Oakland

21

22

23

24

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     STIPULATION OF DISMISSAL OF FIRST AMENDED COMPLAINT WITHOUT PREJUDICE
            Case 3:20-cv-07184-EMC         Document 58        Filed 10/16/21     Page 5 of 5




1                                           [PROPOSED] ORDER

2           Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiffs’ First Amended Complaint is
3
     dismissed without prejudice, with all parties bearing their own fees and costs. IT IS SO ORDERED
4

5
     Date: October 15, 2021
6                                                       ___________________________
                                                        EDWARD M. CHEN
7
                                                        United States District Judge
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     STIPULATION OF DISMISSAL OF FIRST AMENDED COMPLAINT WITHOUT PREJUDICE
